Case 6:19-cv-00064-JRH-CLR Document 18-2 Filed 10/29/19 Page 1of3

EXHIBIT B

Martin, et al v. Ogeechee Area Hospice, Inc
Case 6:19-cv-00064-JRH-CLR

Carlisle Legal Services
3500 Fort McAllister Road
Richmond Hill, GA 31324
United States
912-226-6664

Dawn Martin

Dawn Martin v. Ogeechee Area
Hospice

Time Entries

DATE EE ACTIVITY DESCRIPTION
06/27/2019 ECB "Document
Preparation
o7/10/2019 ECR Document
Preparation
07/15/2019 ECR Document
Preparation
Expenses
DATE EE — ACTIVITY DESCRIPTION

o7/tei2019 ECB — and Costs | Filing Fee

Document 18-2 Filed 10/29/19 Page 2 of 3

Carlisle Legal Services

Balance $2,545.00
Invoice # 00125

Invoice Date August 13, 2019
Payment Terms

Due Date

RATE HOURS = LINE TOTAL

$200.00 4.0 $800.00

$200.00 30 $600.00

e000 0 sa0000

- “Toa: «100 -s2000.00

Ket _ QUANTITY LINE TOTAL

 

om 1 61201 9 ECB "Fees and 1 Costs: _ Service 0 of Prous

$400.0 00 i: 0 $400. 00

on 45. 00 qT 0 st 45. 00.

Expense Total: $545, 00

Time Entry Sub-Total: $2,000.00

Expanees Sub-Total: li 00

Sub-Toial: $2, 545.00
Case 6:19-cv-00064-JRH-CLR Document 18-2 Filed 10/29/19 Page 3 of 3

Total: $2,545.00
Amount Paid: $0.00

BALANCE DUE: $2,545.00
